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11
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13   UNITED STATES OF AMERICA,                       )   Case No. CR 18-0590 EMC
                                                     )
14           Plaintiff,                              )   UNITED STATES’ SENTENCING
                                                     )   MEMORANDUM
15      v.                                           )
                                                     )   Sent. Hrg.: June 19, 2019
16   RIGOBERTO ALEXANDER GONZALEZ-                   )   Time:       10:00 a.m.
     ESCOBAR                                         )   Courtroom: Five (17th Floor)
17                                                   )
             Defendant.                              )
18

19

20                                           I.     INTRODUCTION
21           The government files this Sentencing Memorandum in anticipation of the June 19, 2019
22 sentencing of defendant Rigoberto Alexander Gonzalez-Escobar. Pursuant to its written plea agreement

23 with the defendant, the government respectfully requests that the Court sentence the defendant to 72

24 months in prison followed by three years of supervised release (including an expanded search

25 condition); a $200 special assessment; no criminal fine; and forfeiture of certain firearms and

26 ammunition as set forth in the plea agreement.

27                                            II.    BACKGROUND
28           On December 12, 2018, the defendant pleaded guilty to both counts of a two-count Information,

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 1 pursuant to a written plea agreement under Federal Rule of Criminal Procedure 11(c)(1)(A) and (B).

 2 Dkt. No. 11. Specifically, the defendant entered pleas of guilty to Possession with Intent to Distribute

 3 Marijuana in violation of 21 U.S.C. § 841(a)(1); and Possession of a Firearm in Furtherance of a Drug

 4 Trafficking Crime in violation of 18 U.S.C. § 924(c)(1)(A). In his written plea agreement, he admitted

 5 the following offense conduct:

 6                 On August 30, 2018, I lived at 2661 Parker Avenue in Oakland, California
                   with my girlfriend and our infant child. 2661 Parker Avenue is a two-
 7                 bedroom single floor house. One of the primary purposes for the premises
                   was to cultivate marijuana. For that reason, both bedrooms were
 8                 converted to marijuana cultivation facilities – including trays, irrigation,
                   air circulation, and exhaust systems – and my girlfriend, child and I slept
 9                 in the living room. The marijuana grow consisted of more than 400
                   marijuana plants. I intended to distribute the marijuana to other people.
10
                   On August 30, 2018, I possessed a Norinco SKS 7.62 caliber assault rifle
11                 (serial number 61614), a large capacity magazine with 21 rounds of 7.26
                   caliber ammunition, a Gabilondo y Cia Vitoria .380 caliber pistol (serial
12                 number B01654) , and a bag of 21 rounds of assorted caliber ammunition.
                   I kept these firearms and ammunition at the house at 2661 Parker Avenue
13                 in order to protect the marijuana grows from robbery. I therefore
                   possessed the firearms in furtherance of the marijuana growing operation.
14

15 Plea Agt. [Dkt. No. 11] ¶ 2.

16          The parties agreed to a guidelines calculation resulting in an adjusted offense level 10. The Pre-

17 Sentence Report (PSR) is in agreement with that calculation. See PSR ¶ 27. In addition, the PSR

18 concludes that the defendant is a Criminal History Category II. PSR ¶ 32. Further, the Court is required

19 to sentence the defendant to 60 months on Count Two, that term to run consecutive to any other term of

20 imprisonment. Plea Agt. at 3; PSR ¶ 53. In their written agreement, the parties have agreed to jointly

21 recommend a total sentence of 72 months’ imprisonment. Plea Agt. ¶¶ 14, 15. (The Probation Office,

22 however, has recommended a total sentence of 68 months of imprisonment.)

23          In his plea agreement, the defendant agreed to forfeiture of: (1) one Norinco SKS semi-

24 automatic rifle bearing serial number 61614; (2) one Llama-Gabilondo y Cia Vitoria .380 caliber, semi-

25 automatic pistol bearing serial number B01654; (3) one large capacity rifle magazine containing 7.62

26 caliber ammunition; and (4) any ammunition associated with the .380 caliber pistol. Plea Agt. ¶ 11. In

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 1 addition, he agreed to imposition of the following expanded search condition as a term of supervised

 2 release:

 3                  Special Condition (Searches)

 4                  The defendant shall submit his person, residence, office, vehicle,
                    electronic devices and their data (including cell phones, computers, and
 5                  electronic storage media), and any property under defendant’s control to a
                    search. Such a search shall be conducted by a United States Probation
 6                  Officer or any federal, state, or local law enforcement officer at any time,
                    with or without suspicion. Failure to submit to such a search may be
 7                  grounds for revocation; the defendant shall warn any residents that the
                    premises may be subject to searches.
 8

 9 Plea Agt. ¶ 8.
10                                               III.       DISCUSSION

11          The government respectfully recommends that the Court impose a sentence of 72 months’

12 imprisonment, followed by a three-year term of supervised release which incorporates the expanded

13 search condition, and a $200 special assessment. The government agrees that a criminal fine is

14 inappropriate.

15          A. Applicable Law

16          Title 18, United States Code, Section 3553(a) directs the district court to consider a number of

17 factors in determining the appropriate sentence to impose. In this case, these factors indicate that the

18 sentence set forth in the parties’ written plea agreement is sufficient, but not greater than necessary, to

19 achieve the goals of sentencing. See United States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008) (en banc).

20 Significant factors here are the nature and circumstances of the offense and the history and

21 characteristics of the defendant (18 U.S.C. § 3553(a)(1)), the need to afford adequate deterrence to

22 criminal conduct (id. § 3553(a)(2)(B)), the need to protect the public from further crimes of the

23 defendant (id. § 3553(a)(2)(C)), and the need to avoid unwarranted disparity with the sentences of other

24 defendants (id § 3553(a)(6)).

25          Although the Supreme Court’s decision in United States v. Booker, 543 U.S. 220 (2005), has

26 rendered the Sentencing Guidelines advisory, the Guidelines still remain the “starting point and initial

27 bench-mark” for sentencing, Kimbrough v. United States, 552 U.S. 85, 108 (2007) (internal quotation

28 marks and citation omitted); see Carty, 520 F.3d at 991. While there is no presumption of

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 1 reasonableness for a Guidelines-range sentence, if a district judge “decides that an outside-Guidelines

 2 sentence is warranted, he must consider the extent of the deviation and ensure that the justification is

 3 sufficiently compelling to support the degree of the variance.” Carty, 520 F.3d at 991-92 (citing Gall v.

 4 United States, 552 U.S. 38, 50 (2007)); see also United States v. Munoz-Camarena, 631 F.3d 1028, 1030

 5 (9th Cir. 2011) (“district court must start with the recommended Guidelines sentence, adjust upward or

 6 downward from that point, and justify the extent of the departure from the Guidelines sentence”). As

 7 the Supreme Court recognized in Gall, “a major departure should be supported by a more significant

 8 justification than a minor one.” 552 U.S. at 50. Finally, “[a]s a general rule, the preponderance of the

 9 evidence standard is the appropriate standard for factual findings used for sentencing.” United States v.
10 Armstead, 552 F.3d 769, 777-78 (9th Cir. 2008); see, e.g., United States v. Treadwell, 593 F.3d 990,

11 1001 (9th Cir. 2010).

12          B. Sentencing the Defendant to the Agreed Upon Sentence Would Vindicate the
               Interests Set Forth in 18 U.S.C. § 3553(a)
13

14          The government has no objections to the Presentence Report (“PSR”). The government is

15 largely in agreement with the sentence recommended in the PSR, for the reasons set forth there – with

16 one exception. The government recommends a sentence of 12 months’ custody rather than only eight

17 months. Twelve months in custody is the term which the parties agreed jointly to recommend. More

18 importantly, it is supported by the offense conduct.

19          The marijuana being grown by the defendant at the house in Oakland was destined specifically

20 for MS-13 gang members in Mendota, California. It was intended to be sold by those gang members for

21 the benefit of the gang. See PSR ¶¶ 7, 10. As this Court is no doubt aware, MS-13 (La Mara

22 Salvatrucha) is a huge, translational criminal organization with branches (or “cliques”) all over the

23 world and in most states of the United States. Violence – violence in dealing with rivals, in disciplining

24 its own members, and in cowing the local community – is one of its hallmarks. In a very real sense, the

25 marijuana cultivated by this defendant went to fund a vicious criminal enterprise. Further, this

26 defendant kept an assault rifle with a loaded 30-round magazine on the premises, as well as a handgun

27 and more ammunition (in a different location). PSR ¶ 11. The offense conduct thus establishes both a

28 general danger to the community (in terms of the funding of the activities of MS-13) and a more specific

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 1 danger to persons visiting the grow house who would, or might be perceived to, pose a threat to the crop

 2 under cultivation.

 3          As is set forth in the PSR, the sentence contained in the written plea agreement would be

 4 sufficient, but not greater than necessary, to achieve the goals of sentencing under 18 U.S.C. § 3553(a).

 5 A total sentence of 72 months should suffice to protect the public at large, to reflect the seriousness of

 6 the offenses of conviction, and to provide a just punishment while avoiding unwarranted sentence

 7 disparities among defendants convicted of similar conduct.

 8          The government recommends a three-year term of supervised release, with the conditions set

 9 forth in the PSR. Even though the defendant may be deported following completion of his custodial
10 sentence, deportation is not assured. Further, even the defendant is deported, and even if his current

11 significant other and their child remove to El Salvador (see PSR ¶ 43), the defendant has other children

12 who apparently will continue to reside with their mother in California (see PSR ¶ 42).

13          The proposed sentence is not greater than necessary to achieve the ends of justice in this case.

14 For all of those reasons, and pursuant to the written Plea Agreement, the government respectfully

15 requests that the Court sentence Rigoberto Alexander Gonzalez-Escobar to a total sentence of 72

16 months; a term of three years of supervised release (with all the terms and conditions set forth in the

17 PSR, including the conditions that he not participate in gang activity, and not associate with any member

18 of MS-13); no criminal fine (based upon a finding of inability to pay a criminal fine); and a $200 special

19 assessment.

20          The conditions of supervised release should include the following expanded search condition, to

21 which the defendant agreed:

22                  The defendant shall submit his person, residence, office, vehicle,
                    electronic devices and their data (including cell phones, computers, and
23                  electronic storage media), and any property under defendant’s control to a
                    search. Such a search shall be conducted by a United States Probation
24                  Officer or any federal, state, or local law enforcement officer at any time,
                    with or without suspicion. Failure to submit to such a search may be
25                  grounds for revocation; the defendant shall warn any residents that the
                    premises may be subject to searches.
26

27 Plea Agt. ¶ 8.

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 1                                           IV.       CONCLUSION

 2         For all of the above reasons, government respectfully requests that the Court sentence defendant

 3 Rigoberto Alexander Escobar-Gonzalez in conformity with the parties’ written plea agreement. The

 4 total sentence should be 72 months. The defendant appears unable to pay a criminal fine. Restitution

 5 for this defendant is not applicable. The mandatory special assessment totals $200. The custodial

 6 sentence should be followed by a three-year term of supervised release, incorporating the terms and

 7 conditions set forth in the PSR.

 8

 9 DATED: June 12, 2019                                        Respectfully submitted,

10                                                             DAVID L. ANDERSON
                                                               United States Attorney
11

12                                                                    /s/
                                                               ________________________
13                                                             ANDREW M. SCOBLE
                                                               Assistant United States Attorney
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